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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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        SEATTLE PACIFIC UNIVERSITY,                          CASE NO. 3:22-cv-05540-RJB
11
                               Plaintiff,                    ORDER FOR PROPOSED
12              v.                                           BRIEFING SCHEDULE
13      ROBERT FERGUSON, in his official
        capacity as Attorney General of
14      Washington,
15                             Defendant.

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17          This matter comes before the Court on the Mandate of the Ninth Circuit Court of

18   Appeals. Dkt. 42. The Court has considered the Ninth Circuit Court of Appeals June 7, 2024

19   opinion, affirming, in part, reversing, in part, and remanding the case (Dkt. 40), the mandate

20   (Dkt. 42) and the remaining file.

21          In accord with the Circuit’s June 7, 2024 opinion, the parties should file a proposed

22   briefing schedule on the issue of whether the Plaintiff’s remaining claims are prudentially ripe by

23   July 16, 2024.

24          IT IS SO ORDERED.


     ORDER FOR PROPOSED BRIEFING SCHEDULE - 1
               Case 3:22-cv-05540-RJB Document 44 Filed 07/02/24 Page 2 of 2




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            The Clerk is directed to send uncertified copies of this Order to all counsel of record and
 2
     to any party appearing pro se at said party’s last known address.
 3
            Dated this 2nd day of July, 2024.
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 7
                                           A
                                           ROBERT J. BRYAN
                                           United States District Judge
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     ORDER FOR PROPOSED BRIEFING SCHEDULE - 2
